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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MICHAEL PARDI, et al.,                             Case No. 21-cv-00076-HSG
                                   8                     Plaintiffs,                        ORDER REGARDING MOTION TO
                                                                                            CLARIFY
                                   9               v.
                                                                                            Re: Dkt. No. 158
                                  10     TRICIDA, INC., et al.,
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13            Plaintiff moves for an order clarifying the Court’s March 11, 2024 Order Granting in Part

                                  14   and Denying in Part the Motion to Dismiss the Second Amended Complaint (“SAC Order”) (Dkt.

                                  15   No. 145).

                                  16            Plaintiff contends that the July 29, 2022 Order Granting in Part and Denying in Part the

                                  17   Motion to Dismiss the First Amended Complaint (“FAC Order”) (Dkt. No. 93), “plainly upheld”

                                  18   Defendant Klaerner’s statement expressing confidence in FDA approval on May 7, 2020 as an

                                  19   actionable misrepresentation. Dkt. No. 158 at 1:17. Plaintiff argues that the Court then introduced

                                  20   ambiguity into this “explicit[]” holding in its SAC Order when it included the statement of

                                  21   confidence in a list of non-actionable statements. Id. Plaintiff argues that the “explicit[]” holding

                                  22   in the FAC Order should survive because the SAC Order (1) emphasized that it would not revisit

                                  23   the prior rulings and (2) referenced the expression of confidence statement in its scienter analysis.

                                  24   Id.

                                  25            The Court disagrees. First, the FAC Order did not “plainly” or “explicitly” hold that the

                                  26   expression of confidence statement was actionable. In Section III(B)(6)(b) (“Discussing

                                  27   Outstanding Review Issues with the FDA”) of the FAC Order, the Court included a lengthy quote

                                  28   from Klaerner from a May 7, 2020 earnings call:
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                                   1                   In our late-cycle meeting with [sic] FDA, we took the opportunity to
                                                       address outstanding review issues. We presented our data and
                                   2                   rationale as to why we think we very much satisfied the requirements
                                                       for initial approval under the Accelerated Approval Program
                                   3                   including the magnitude and durability of the treatment effect on the
                                                       surrogate markup serum bicarbonate demonstrated in the TRCA-301
                                   4                   and TRCA-301E trials.
                                   5                           Under the initial approval, we have to ensure that US patients
                                                       who would be prescribed veverimer get clinically significant benefit
                                   6                   that outweighs the risk of treatment. Overall, while the FDA continues
                                                       its review, we remain confident that our submission meets the
                                   7                   standard for approval through the Accelerated Approval Program.
                                   8   FAC Order at 21–22. The Court held that Plaintiff had plausibly alleged that by disclosing that

                                   9   Tricida discussed “outstanding review issues” with the FDA at the May 1, 2020 meeting and

                                  10   identifying one of those issues (the “magnitude and durability of the treatment effect on the

                                  11   surrogate marker”), Klaerner was also “obligated to share the other significant review issue –

                                  12   ‘applicability of data from the TRCA-301 and TRCA-301E trials to the U.S. population.’” Id at
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                                  13   22. In other words, the Court held that the relevant statement concerning the “outstanding review

                                  14   issues” addressed in the May 1, 2020 meeting was adequately alleged to be misleading because it

                                  15   omitted a key factor discussed at that meeting. The Court’s analysis of falsity, focusing entirely on

                                  16   the outstanding review issues discussed, did not mention or implicate the statement expressing

                                  17   confidence in approval. Id. at 22-23. The Court’s holding here—again, contained in a section

                                  18   titled “Discussing Outstanding Review Issues with the FDA”—was clearly limited to the

                                  19   statement concerning the outstanding review issues discussed with the FDA.

                                  20           The Court’s separate reference to the “we remain confident” statement in its scienter

                                  21   analysis does not disturb the Court’s holding in the FAC Order. Id. at 29–30. In the relevant

                                  22   section, notably titled “Statements About Discussing Outstanding Review Issues with the FDA at

                                  23   the May 1, 2020 Late-Cycle Meeting,” the Court analyzed scienter only as to Klaerner’s reference

                                  24   to one rather than both of the review issues discussed at the May 1, 2020 meeting. Id.

                                  25           Second, the March 2024 SAC Order resolved any arguable doubt as to the “we remain

                                  26   confident” statement by confirming that the statement was a non-actionable opinion. SAC Order

                                  27   at 12. The Court first noted that “Fiore fails to plausibly allege that Klaerner did not hold the

                                  28   optimistic beliefs he professed, or that these beliefs are objectively untrue.” Id. The Court further
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                                   1   explained that “the FDA’s expression of its view that the results likely would not be applicable to

                                   2   the U.S. population does not show that Klaerner’s confidence in the likelihood of approval was

                                   3   necessarily false or not honestly held.” Id. The Court then concluded that “Klaerner’s failure to

                                   4   disclose all of the specific details of the FDA’s concerns does not render all of his opinions

                                   5   conveying optimism about the approval process false and misleading.” Id. at 16. The Court

                                   6   granted Klaerner’s motion as to all challenged opinion statements, including the “we remain

                                   7   confident” statement. Id. Although the Court referenced the expression of confidence statement

                                   8   in the scienter analysis, again, this reference does not contradict the Court’s holding that the

                                   9   statement was a non-actionable expression of opinion.

                                  10            Accordingly, the Court re-emphasizes its explicit holding that the “we remain confident”

                                  11   statement is a non-actionable statement of opinion that has been dismissed from this case. See

                                  12   SAC Order at 10–16.
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                                  13            This Order terminates Dkt No. 158.

                                  14            IT IS SO ORDERED.

                                  15   Dated:     7/1/2024

                                  16                                                    ______________________________________
                                                                                        HAYWOOD S. GILLIAM, JR.
                                  17                                                    United States District Judge
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